Case 18-12095-BFK   Doc 104    Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document     Page 1 of 29
Case 18-12095-BFK   Doc 104    Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document     Page 2 of 29
Case 18-12095-BFK   Doc 104    Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document     Page 3 of 29
Case 18-12095-BFK   Doc 104    Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document     Page 4 of 29
Case 18-12095-BFK   Doc 104    Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document     Page 5 of 29
Case 18-12095-BFK   Doc 104    Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document     Page 6 of 29
Case 18-12095-BFK   Doc 104    Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document     Page 7 of 29
Case 18-12095-BFK   Doc 104    Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document     Page 8 of 29
Case 18-12095-BFK   Doc 104    Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document     Page 9 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 10 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 11 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 12 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 13 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 14 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 15 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 16 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 17 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 18 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 19 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 20 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 21 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 22 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 23 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 24 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 25 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 26 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 27 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 28 of 29
Case 18-12095-BFK   Doc 104     Filed 10/18/18 Entered 10/18/18 08:44:19   Desc Main
                              Document      Page 29 of 29
